                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 TAMMY MCCRAE-COLEY,                         )
                                             )
                      Plaintiff,             )
                                             )
               v.                            )                 1:21-CV-666
                                             )
 STARTER HOMES PROGRAMS                      )
 INC., et al.,                               )
                                             )
                      Defendants.            )

                         ORDER ON SERVICE OF PROCESS

       This lawsuit began in the Superior Court of Guilford County on July 6, 2021,

when the plaintiff, Tammy McCrae-Coley, filed a paper writing labeled as an amended

complaint against several defendants alleging violations of the Telephone Consumer

Protection Act and similar North Carolina statutes. See Doc. 1-1, Doc. 4 at 10–13. There

is nothing of record to show that any other complaint was filed earlier in state c ourt.

       Two of the named defendants, Nations Info Corp. and Get Rent to Own Corp.,

timely removed the case to this court on August 27, 2021, based on federal question

jurisdiction. Doc. 1 at ¶¶ 4–5. These two defendants promptly filed an answer. See Doc.

10.

       There are two other defendants named in the Amended Complaint: Starter Home

Investing Inc. and Starter Home Programs Inc. See Doc. 4. As best the Court can tell,

Ms. McCrae-Coley has not obtained service of process on these defendants. See

discussion infra. Neither has filed an answer or other responsive pleading, though




      Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 1 of 8
someone purportedly acting on their behalf did make an effort to obtain more time to

respond when the case was in state court. See Doc. 13-2.

       After removal, Ms. McCrae-Coley took no steps to move the case forward. After

the Clerk’s office provided her with notice that she had failed to make service within 90

days, see Doc. 11, Ms. McCrae-Coley filed an affidavit purporting to show service on the

two Starter Home defendants. See Doc. 13. The Clerk thereafter asked Ms. McCrae-

Coley to notify the Clerk’s office within ten days of how she wished to proceed as to the

defendants who had not answered. Doc. 14.

       While Ms. McCrae-Coley did not respond or provide any information as to how

she wished to proceed against the Starter Home defendants, she did seek leave to file an

amended complaint to add two new defendants. See Doc. 15. After that motion was

granted, Text Order 03/18/2022, she filed a paper writing labeled as "2nd Amended

Complaint” on March 24, 2022. Doc. 18. In this complaint, she asserted claims against

the original four defendants and against two new defendants: Xanadu Marketing, Inc.

and Insurance-Reviewed.Com. Id. On April 4, 2022, the Clerk issued summonses to all

the defendants at Ms. McCrae-Coley’s request. See Doc. 19.

       I.     Service of Process

       “Service of summons is the procedure by which a court having venue and

jurisdiction of the subject matter of the suit asserts jurisdiction over the person of the

party served.” Omni Cap. Int’l, Ltd. v. Rudolf Wolff & Co., 484 U.S. 97, 104 (1987)

(cleaned up). “Absent effective service of process, a court is without jurisdiction to

render a personal judgment against a defendant.” Fed. Deposit Ins. Corp. v. Schaffer,

                                                 2



      Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 2 of 8
731 F.2d 1134, 1135–36 (4th Cir. 1984); see also Koehler v. Dodwell, 152 F.3d 304, 306

(4th Cir. 1998) (“Absent waiver or consent, a failure to obtain proper service on the

defendant deprives the court of personal jurisdiction over the defendant.”).

       The rules of service of process “apply equally to litigants proceeding with or

without counsel.” Shaver v. Cooleemee Volunteer Fire Dep’t, No. 07-CV-00175, 2008

WL 942560, at *2 (M.D.N.C. Apr. 7, 2008); see also McNeil v. United States, 508 U.S.

106, 113 (1993) (“[W]e have never suggested that procedural rules in ordinary civil

litigation should be interpreted so as to excuse mistakes by those who proceed without

counsel.”); McDaniel v. Greyhound Lines, Inc., No. 08-CV-130, 2008 WL 2704774, at

*4 (W.D.N.C. July 7, 2008) (“Although [the plaintiff] is proceeding pro se and in forma

pauperis, she is held to the same standards regarding service of process . . . .”). The rules

on service of process may be technical, and liberal construction is appropriate when a

defendant receives actual notice, see, e.g., Jackson v. Warning, No. 15-CV-1233, 2016

WL 520947, at *2 (D. Md. Feb. 5, 2016), but compliance is still required. See Armco,

Inc. v. Penrod-Stauffer Bldg. Sys., Inc., 733 F.2d 1087, 1089 (4th Cir. 1984); see also

Scott v. Md. State Dep't of Lab., 673 F. App'x 299, 305 (4th Cir. 2016) (per curiam)

(noting that “[a]ctual notice does not equate to sufficient service of process, even under

the liberal construction of the rules applicable to a pro se plaintiff”).

       “[P]roof of service must be made to the court.” Fed. R. Civ. P. 4(l)(1). Service

must be obtained within 90 days after a complaint is filed. See Fed. R. Civ. P. 4(m). If

service is not obtained, dismissal is ordinarily appropriate, after notice to the plaintiff and

absent good cause for the failure. See id.

                                                 3



      Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 3 of 8
       II.    The Starter Home Defendants

       As best the Court can tell, Ms. McCrae-Coley has not obtained valid service of

process on Starter Home Investing Inc. and Starter Home Programs Inc. First, the

summonses refer to a “complaint,” see Doc. 13-1, not the paper writing entitled

“amended complaint” with which Ms. McCrae-Coley actually initiated her lawsuit. See

Doc. 4. It is not clear that the relevant pleading was served. More obviously, there is no

showing that the person named in the summons and to whom the summons and complaint

were mailed was an appropriate person to receive service on behalf of these defendants.

       In response to an earlier notice advising Ms. McCrae-Coley that she needed to

prove service, see Doc. 11, she filed a paper writing entitled “Plaintiff’s Proof of Service

on All Defendants.” Doc. 13. It shows that Ms. McCrae-Coley signed affidavits of

service of process and filed them in the Superior Court before the case was removed.

See Doc. 13-1.

       These summonses were directed to and for the most part received by “Attorney

Edward Winkler, Starter Home Programs Inc.,” id. at 2, 8; “Edward Winkler, Starter

Home Investing Inc.,” id. at 3; “Edward Winkler, Starter Home Inv – Lending Cloud,” id.

at 4; and “Edward Winkler, Starter Home Investing - Rent.” Id. at 6, 10. There has been

no showing that Mr. Winkler is an appropriate agent for service on these corporations

under either the federal rules, see Fed. R. Civ. P. 4(h) (authorizing service by appropriate

means on “an officer, a managing or general agent, or any other agent authorized by

appointment or by law to receive service of process”), or state rules. See N.C. R. Civ. P.

4(j)(6) (authorizing service by appropriate means on “an officer, director, or managing

                                               4



      Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 4 of 8
agent of the corporation”). The available evidence shows only that Mr. Winkler is

“corporate counsel” for these defendants. See Doc. 13-2 at 2. This is not an adequate

showing. See generally Wiles v. Welparnel Constr. Co., 295 N.C. 81, 84–85, 243 S.E.2d

756, 757–58 (1978) (discussing summons to and service on corporations through agents).

       It may be that service of process has been obtained pursuant to some other

applicable part of the state or federal rules of civil procedure. But no such showing has

been made, nor has Ms. McCrae-Coley sought more time to make an appropriate

showing. Given, however, that she has made some efforts to obtain service and to show

proof of service, and given that the defendants appear to have received actual notice of

the lawsuit, see Doc. 13-2, the Court will give her 45 days to obtain valid service of

process if she has not already done so and to show proof of service of process. See Fed.

R. Civ. P. 4(m) (authorizing the court, on its own motion, to order service be made within

a specified time). In addition to filing her proof of service, Ms. McCrae-Coley must file

a brief explaining which provisions of the state or federal rules she followed and met in

obtaining service.

       If Ms. McCrae-Coley fails to file proof of service and a brief, her claims against

these defendants will be dismissed without further notice.

       Ms. McCrae-Coley is advised that under the Federal Rules of Civil Procedure, it is

well established that a party to the litigation cannot effect service. See, e.g., Thomas v.

Nelms, No. 09–CV–491, 2013 WL 593419, at *1 (M.D.N.C. Feb. 14, 2013) (citing Fed.

R. Civ. P. 4(c)(2)). It is not the Court’s job to tell Ms. McCrae-Coley how to obtain



                                                5



      Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 5 of 8
service of process, and she is directed to consult the applicable rules and follow them

carefully. There may be other pitfalls.

       Ms. McCrae-Coley is further advised that if she has obtained service of process,

she is expected to move forward with her claims against those defendants whether they

answer or not. If a defendant fails to answer or otherwise respond after valid service, a

motion for entry of default or some other action must be taken. Failure to take any action

as to defendants who are validly served but do not answer puts Ms. McCrae-Coley at risk

of dismissal for failure to prosecute. See Fed. R. Civ. P. 41(b). Her failure to respond to

inquiries from the Clerk’s office indicates a lack of seriousness about this litigation, as

does her failure to keep the Clerk advised of her current mailing address. See Doc. 12,

Doc. 17.

       III.   Xanadu Marketing and Insurance-Reviewed

       After filing the pleading entitled “2nd Amended Complaint” on March 24, 2022,

Ms. McCrae-Coley asked the Clerk to issue summonses to these new defendants, which

the Clerk did. See Doc. 19. Pursuant to Rule 4(m), Ms. McCrae-Coley has 90 days to

obtain service on the new defendants, Xanadu Marketing, Inc. and Insurance-

Reviewed.Com., and to show proof of such service. Fed. R. Civ. P. 4(m). From the face

of the recently-issued summonses, which are also directed to Mr. Winkler, one cannot tell

if Mr. Winkler is an appropriate agent or person for service of process.

       Given the long delays resulting from Ms. McCrae-Coley’s failure to pursue her

claims, the Court does not anticipate extending the time to obtain service in the absence

of a strong showing of good cause. If Ms. McCrae-Coley does not file proof of valid

                                                6



      Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 6 of 8
service within 90 days, which should include an explanation of the applicable rule she

followed to obtain valid service, or file a motion to extend the time, her claims against

Xanadu and Insurance-Reviewed may be dismissed without prejudice.

       IV.      Conclusion

       Absent proper service, the Court has no jurisdiction to act against a defendant. It

is Ms. McCrae-Coley’s job to obtain valid service and to provide proof of valid service.

If she does not do so within the times established in this order, her claims against the

unserved defendants will be dismissed without prejudice.

       This case is nine months old and has barely begun to creep toward final resolution.

The Court has otherwise entered an order to get the case moving as to the two defendants

who have filed answers. See Text Order 04/14/2022. The parties are advised that the

Court expects them to move the case forward expeditiously.

       It is ORDERED that:

       1. No later than June 2, 2022, Ms. McCrae-Coley shall file proof of valid service

             on defendants Starter Home Investing Inc. and Starter Home Programs Inc. and

             a brief identifying the specific rule upon which she relies to show service is

             proper.

       2. No later than June 22, 2022, Ms. McCrae-Coley shall file proof of valid service

             on defendants Xanadu Marketing, Inc. and Insurance-Reviewed.Com, and the

             proof of service shall identify the specific rule or rules upon which she relies to

             show service is proper.



                                                  7



      Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 7 of 8
3. If Ms. McCrae-Coley does not comply with any part of this Order or fails to

   obtain valid service in a timely manner, her claims against the unserved

   defendants will be dismissed without prejudice in the absence of a showing of

   good cause.

This the 18th day of April, 2022.




                                    __________________________________
                                     UNITED STATES DISTRICT JUDGE




                                       8



Case 1:21-cv-00666-CCE-JLW Document 23 Filed 04/18/22 Page 8 of 8
